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LlNDA HURD

Edwin Perry, FPD

Defense Attorney

200 Jefferson Avenue, #200
Memphis, TN 38103

 

A*N|*E*N*D*E*D JUDGMENT |N A CR|NI|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the lndictment on January 11, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following offense:

Date Count
Title a section Na_tyi¢@len_$§ offense Nu_m@;(§)
Conc|uded
1u U.S.C. § 641 Theft of Government Property 10)'23)'2002 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fleform Act of 1984 and the N|andatory
Victims Flestitution Act of 1996

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until a||
fines, restitution, costs and special assessments imposed by this ludgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 9/5/1964 Aprl| 13, 2005
Deft’s U.S. N|arsha| No.: 19824-076

Defendant’s lVlaiiing Address:
122 Covington Village Apts.
Apt_ 122

|Vlemphis, TN 38019

J. DAN|§L BREEN
u lTED sTATEs DlsTl=lloT JuDeE

l l May 3 f , 2005
Thls document entered nn the docket sheet in compliance
with Flule ss smu/er empl sach en »- f ‘ ’

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PROBAT|ON
The defendant is hereby placed on probation for a term of 1 Years.

Whi|e on probation, the defendant shall not commit another federa|, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). if this judgment imposes a fine or a
restitution obligation, lt shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|S|ON

1 . The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officerl

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement.

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Crimina| N|onetary Penalties sheet of this judgment

ADD|TIONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. Cooperate With DNA collection as directed by the Probation Officer.

CR|N||NAL NlONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Aii of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 * $10,000.00
The Speciai Assessment shall be due immediately
F|NE

No fine imposed.
* REST|TUT|ON *

Ftestitution in the amount of $10,000.00 is hereby ordered The defendant shall
make restitution to the following victims in the amounts listed below.

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Priority
Total Amount of Order
Name of pal[ee Amount Ftestitution Ordered or
of Loss Percentage
of Payment
NAVY EXCHANGE $10,000.00 $10,000.00
SYSTEM,
Attn: Eric |Vliller
5722 lNTEGFtiTY DFi BLDG
S-75
Department of Loss
Prevention
iV|lLLlNGTON, TN 38054 -
5025

lt the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Fieasons page.

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SCHEDULE OF PA¥MENTS

Having assessed the defendant’s ability to pay, payment of the totai criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

Defendant shall pay restitution in regular monthly installments of not less than 10%
of gross monthly income.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. Al| criminal monetary penalties exceptthose payments made through the
Federal Bureau of Prisons’ inmate Financia| Ftesponsibility Program, are made to the clerk of the
court, unless othenivise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposedl

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20324 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

Valeria Rae Oliver

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Ste. 800

Memphis7 TN 38103

Edwin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

